Case 2:15-cv-00102-RSM Document 94-35 Filed 09/18/15 Page 1 of 3




                EXHIBIT 35
                                                 Case 2:15-cv-00102-RSM Document 94-35 Filed 09/18/15 Page 2 of 3

AUDIT OR EXAMINATION?                                                 Examples of voluntary agreements include:             Internal Revenue Service


Q. What is an audit? What is an                                         • Closing Agreements (Various Form 906


                                                                                                                         Compliance Checks
                                                                          Agreements)
         examination?                                                   • Tip Reporting Agreements


   A.        An      examination        is    an      inspec-
                                                                        • Worker Classification Settlement Agreements


   tion of an individual’s or an entity’s books and

   records. In addition, an examination involves the

   questioning     of   witnesses      to    determine     the

   individual’s or entity’s correct tax liability. Another term   To learn more about the voluntary
   for an examination is an audit.                                tip agreement program, access the
                                                                  irs.gov website at Market Segment
                                                                        Understandings [MSU]

COMPLIANCE REVIEW

Q. What is a compliance review?                                   TAX FORMS AND PUBLICATIONS

   A.
                                                                     You can get tax information and forms by
             A compliance review is a review con-                             Personal Computer:
   ducted by IRS to ensure that a taxpayer who is                                    www.irs.gov
   participating in a voluntary agreement is satisfying the            You can also get tax forms by calling:
   commitments contained within the agreement. Dur-                             1-800-TAX-FORM
   ing the review, the IRS may need to inspect relevant                         (1-800-829-3676)
   records and ask specific questions to determine the

   voluntary compliance of the taxpayer.


   The IRS offers voluntary agreements that contain dif-

   fering obligations for both parties. Voluntary agree-

   ments are generally administered by the Business

   Operating Division that secures them.
                                                                  Publication 3114 (Rev. 4-2011) Catalog Number 26034G
                                                                   Department of the Treasury Internal Revenue Service
                                                                                        www.irs.gov
                                                 Case 2:15-cv-00102-RSM Document 94-35 Filed 09/18/15 Page 3 of 3

COMPLIANCE CHECK                                                        If not, and the business owner acknowledges they        Q. How often can one be subject-
                                                                                                                                        ed to compliance checks?
Q. What is a compliance check?
                                                                        should have, the IRS may ask the owner to file


                                                                                                                                   A.
                                                                        them voluntarily. If the business owner does not
                                                                                                                                           IRS can make compliance checks as

    A.
                                                                        voluntarily file the forms, the IRS may prepare

                                                                        substitute returns under Internal Revenue Code             often as facts and circumstances warrant. Because
             A compliance check is a review conducted
                                                                        Section 6020(b) or initiate an examination.                compliance checks are not examinations, the limita-
    by IRS, under Title 26 of the Internal Revenue Code,
                                                                                                                                   tions on reopening examinations provided by Section
    to determine whether a business owner (or individual)           • The IRS will not ask to examine any books and
                                                                                                                                   7605(b) do not apply to compliance checks.
    is adhering to recordkeeping and information reporting              records during a compliance check or ask ques-
    requirements. It is neither an inspection, under section


                                                                                                                                Q. Once
                                                                        tions, regarding tax liabilities. This means that the
    7605(b) of the Internal Revenue Code, nor an audit,                 IRS will not ask business owners why they treat an
                                                                                                                                        a business owner has
    under Section 530 of the Revenue Act of 1978.                       expense a certain way or the reason they treat a           been checked for compliance,
 A compliance check does not directly relate to deter-
                                                                        worker as an employee or independent contrac-                   does he/she have safe haven
 mining a tax liability for any particular period. The check
                                                                        tor. IRS typically asks these types of questions                protection under section 530
 is a tool to help educate business owners about their
                                                                        during an audit or examination to determine                     of the Revenue Act of 1978?

                                                                                                                                   A.
                                                                        an individual’s or business entity’s correct tax
 reporting   requirements    to    help   increase     voluntary
                                                                        liability. If, during a compliance check, the IRS                  No. Since compliance checks are not
 compliance. At the beginning of a compliance check, the
                                                                        decides an audit or examination is appropri-               audits, the business owner does not hold safe
 IRS representative will inform the business owner that
                                                                        ate, the IRS will notify the business owner that           haven protection under section 530 of the Revenue
 the review is a compliance check and not an audit or
                                                                        it is commencing an examination before asking              Act of 1978.
 examination.
                                                                        questions that relate to tax liability.
    • A compliance check is a review of              informa-
                                                                                                                                   Additionally, a business owner may not rely on an
       tion forms or documents that the IRS requires

       business owners (tax customers) to file or main-

       tain; for example, 940s, 941s, 8027s, W-2s,
                                                                   Q.     Is there a penalty for refusing to
                                                                          submit to a compliance check?
                                                                                                                                   audit started after December 31, 1996, for safe

                                                                                                                                   haven protection, unless the audit included an

                                                                                                                                   examination of whether the individual involved,
       1099s, or W-4s. During a compliance check,

       the IRS may ask business owners whether they

       understand    or     have   questions   about     the
                                                                    A.        No. A business owner (or individual) may refuse
                                                                                                                                   or any individual holding a similar position as the

                                                                                                                                   person involved, should be treated as an employee of
                                                                    to participate in a compliance check without penalty.
                                                                                                                                   the taxpayer for employment tax purposes.
       filing requirements for these forms. The IRS may             The IRS has the option of opening a formal investigation,
       also ask the business owners if they filed the               whether or not the business owner agrees to participate
       proper forms for any workers to whom they made               in a compliance check.
       payments.
